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April 29, 2020

VIA ECF

The Honorable Mitchell S. Goldberg
United States District Court
Eastern District of Pennsylvania
601 Market Street
Room 7614
Philadelphia, PA 19106


       Re:       UNITED STATES OF AMERICA, ex rel. SARAH BEHNKE, vs.
                 CVS CAREMARK CORPORATION, et al. Civil Action Number 14-cv-00824

Dear Judge Goldberg:

        Pursuant to this Court’s directive in its September 2017 Policies and Procedures, Plaintiff-Relator,
Sarah Behnke (“Relator”) submits this letter stating the basis for her Request for Clarification and
requesting, at the Court’s discretion, a pre-motion conference. Relator respectfully seeks clarification from
the Court as to the holding set forth in footnote 10 of the April 23, 2020 Opinion on Defendants’ Motion
to Dismiss (Dkt. 78), regarding the permissible time scope of the allowed claims. For ease of reference,
the pertinent part of the footnote reads as follows:

                 … Relator does not oppose the dismissal of all allegations prior to 2010 and
                 concedes that all allegations relating to reimbursement claims submitted
                 through Aetna do not pre-date 2011. (Pl.’s Opp., ECF No. 54, at 30 n.11;
                 Pl.’s Sur-Reply, ECF No. 60, 10.) However, Relator points out that
                 reimbursement claims submitted through other Part D plans, such as
                 SilverScript, date back to 2010. Based on Relator’s concessions, I dismiss
                 all claims prior to January 1, 2011 as to the Caremark Defendants and
                 dismiss all claims prior to January 1, 2010 as to SilverScript. Dkt. 78 at
                 footnote 10 (emphasis added).




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        Consistent with the remainder of the Opinion, which appears to only dismiss SilverScript as a
named defendant on scienter grounds, but not to dismiss the reimbursement claims that Caremark caused
to be submitted through SilverScript, and following on the italicized language in this footnote referencing
the submission of claims by Caremark through SilverScript, we believe that the final sentence should be
revised as follows: Based on Relator’s concessions, I dismiss all claims as to the Caremark Defendants
related to Aetna beneficiaries prior to January 1, 2011 and dismiss all claims as to the Caremark
Defendants related to SilverScript beneficiaries prior to January 1, 2010.

        We believe that is the intended and correct outcome, but we could anticipate Caremark arguing for
a different reading. We could amend to support that outcome, if needed, but wish to avoid muddying the
waters if, as we believe, those “caused to be submitted” claims against Caremark for claims for both Aetna
and SilverScript beneficiaries have already been sustained. Also, Your Honor granted leave to amend to
cure deficiencies, and we do not believe that Relator’s Complaint was found to be deficient in that regard.
In the event that Caremark argues for a different reading, however, and refuses to provide discovery or
argues down the road contrary to our interpretation, we do not want to find ourselves out of time to amend.

        Respectfully, Relator seeks clarification of the language in footnote 10 so that an appropriate
decision can be made regarding a possible amendment of her Complaint and so that this possible argument
by the Caremark defendants does not lead to delays or additional motions to this Court in discovery or
other proceedings.

       Thank you very much for your consideration of this request.



                                                             Respectfully submitted,

                                                                    /s/ Susan Schneider Thomas
                                                                    Susan Schneider Thomas
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                                CERTIFICATE OF SERVICE

       I, Susan Schneider Thomas, hereby certify that this document, filed through the ECF

system, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) on April 29, 2020.
